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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION

UNITED STATES OF AMERICA, )
                          )
              Plaintiff,  )
                          )
    v.                    )                 No. 21 CR 618-6
                          )                 Hon. Martha M. Pacold
RALPH TURPIN,             )
                          )
              Defendant.  )

        RALPH TURPIN’S RULE 29 MOTION FOR A JUDGMENT OF
          ACQUITTAL OR IN THE ALTERNATIVE A NEW TRIAL

        Now Comes Defendant RALPH TURPIN, through his counsel JOSHUA

B. ADAMS and PATRICK E. BOYLE, pursuant to Rules 29(c) and 33 of the

Federal Rules of Criminal Procedure, moves this Court for a judgment of

acquittal on Counts One and Three of the superseding indictment. In support

of his motion, Mr. Turpin states the following.

   I.      Motion for Judgment of Acquittal Pursuant to Rule 29(c)

        1. Legal Standard

           a. Rule 29


        Rule 29 provides that “after viewing the evidence in the light most

favorable to the United States, the trial court finds that no reasonable trier of

fact could have found the essential elements of the crime beyond a reasonable

doubt.” Jackson v. Virginia, 443 U.S. 307, 319 (1979). While this is a heavy

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burden, the verdict of a properly instructed jury is not sacrosanct. United

States v. Radomski, 473 F.3d 728 (7th Cir. 2007).


      As the Supreme Court has observed, “a properly instructed jury may

occasionally convict even when it can be said that no rational trier of fact

could find guilt beyond a reasonable doubt.” Jackson, 443 U.S. at 318. A

defendant challenging the sufficiency of the evidence of his guilt is “not

required…to demonstrate that no evidence at all supports the conviction,”

but rather, only that the evidence does not support guilt beyond a reasonable

doubt. United States v. Rahman, 34 F.3d 1331, 1337 (7th Cir. 1994). For the

following reasons, Mr. Turpin argues that the government presented

insufficient evidence to support the jury’s guilty verdicts on Counts One and

Three.


      b. Rule 33


      A motion for a new trial may be granted and a judgment vacated

under Federal Rule of Criminal Procedure 33 “if the interest of justice so

requires.” Under this standard, trial courts are given wide discretion to

make that determination. United States v. Maclin, 915 F.3d 440, 444 (7th

Cir. 2019). Upon reviewing the evidence at trial, a new trial should be

granted in cases where a “reasonable possibility” exists that an identified

“trial error had a prejudicial effect on the jury’s verdict.” Id. The trial court

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is entitled to “weigh the evidence and in so doing evaluate for itself the

credibility of witnesses.” United States v. Sanchez, 969 F.2d 1409, 1413 (2d

Cir. 1992).

      Moreover, “if the complete record . . . leaves a strong doubt as to the

defendant’s guilt, even though not so strong a doubt as to require a judgment

of acquittal, the district court may be obliged to grant a new trial.” United

States v. Morales, 910 F.2d 467, 468 (7th Cir. 1990); United States v. Reed,

875 F.2d 107, 114 (7th Cir. 1989) (indicating that a new trial is warranted

“where the evidence preponderates so heavily against the verdict that it

would be a manifest injustice to let the guilty verdict stand”). In short, a

motion for a new trial may be granted if a trial error contributed to an unfair

outcome or if the totality of the evidence leaves doubt regarding the

defendant’s guilt of the charged offenses. With these principles in mind, we

turn to Mr. Turpin’s motions.

II.   The Government’s comment about Mr. Turpin’s right to remain silent at
      closing requires a new trial.

      A. Legal Principles
      In its rebuttal, the government stated:
      “I'll point out, Mr. Boyle, Mr. Adams, they don't have a
      burden to prove a single thing in this case, but they do
      have the subpoena power. They could have called
      witnesses. They could have called them if it was so
      important for you to hear from these people. I wanted
      you to hear from Ralph Turpin.”


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      Tr. 10229. Following a defense objection to this improper argument, a

sidebar was held. At sidebar the government claimed this statement

referenced the video recording of Mr. Turpin at Monclear. Tr. 10230.

However, the timing of this argument, coupled with the fact that it came

right after the government told the jury that Mr. Turpin could subpoena

witnesses, had a devastating effect on Mr. Turpin’s Fifth Amendment right to

remain silent.

      It is well accepted that a criminal defendant may choose to remain

silent and is not required to testify. “The corollary of that protection is that a

prosecutor may not make comments, either directly or indirectly, that invite

the jury to infer guilt from the defendant’s decision not to testify.” United

States v. Carswell, 996 F.3d 785, 796 (7th Cir. 2021); citing Griffin v.

California, 380 U.S. 609, 615, 85 S.Ct. 1229, 14 L.Ed.2d 106 (1965); Tucker,

714 F.3d at 1014.


      “To evaluate such claims of prosecutorial misconduct, we first

determine whether the remarks by the prosecutor were improper when

viewed in isolation. United States v. Common, 818 F.3d 323, 331 (7th Cir.

2016). If not, the analysis ends there and the defendant’s claim fails. United

States v. Love, 336 F.3d 643, 647 (7th Cir. 2003). If any remarks were



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improper, we would evaluate them in light of the entire record and determine

whether they deprived the defendant of a fair trial. Common, 818 F.3d at

331. We would consider: (i) whether the prosecutor misstated the evidence;

(ii) whether the remark implicated the specific rights of the accused; (iii)

whether the defense invited the response; (iv) the effect of any curative

instructions; (v) the defendant’s opportunity to rebut; and (vi) the weight of

the evidence. United States v. Hale, 448 F.3d 971, 986 (7th Cir. 2006); Love,

336 F.3d at 647–48. The weight of the evidence is by far the most important

factor. Love, 336 F.3d at 648.” Carswell, 996 F.3d at 795-96.


      “A prosecutor violates the Fifth Amendment by commenting directly

and adversely on the defendant's failure to testify on his own behalf.”

Carswell, 996 F.3d at 797; citing United States v. Hills, 618 F.3d 619, 640

(7th Cir. 2010).” Where a prosecutor indirectly comments on the defendant's

failure to testify, such a comment will be deemed improper only if the

prosecutor's “manifest intent” was to use the defendant's silence as evidence

of guilt, or if the jury would “naturally and necessarily” infer guilt from the

comment. Id.; United States v. Mietus, 237 F.3d 866, 871 (7th Cir. 2001).

With these principles in mind, we turn to Mr. Turpin’s Motion for a

Judgment of Acquittal.




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      B. The Government’s Rebuttal argument violated Mr. Turpin’s Fifth

         Amendment Rights

      In turning to the factors enumerated in Carswell, first the government

in fact misstated the evidence. At sidebar, the AUSA stated he had meant the

video recording of Mr. Turpin on his cell phone at Monclar. However, that is

explicitly not what he told the jury. He could have told the jury he wanted

them to see Exhibit XX, or specifically mention the Monclar video; something

the government referenced dozens of times during its case in chief. Rather,

the AUSA selected the specific words that he wanted the jury to “hear from

Mr. Turpin.”

      Second, these remarks undoubtedly and unmistakenly implicated Mr.

Turpin’s right to remain silent. As in the first factor, the government could

have easily referenced the exhibit admitted into evidence. It could have

played the video. But to specifically say “I wanted you to hear from Ralph

Turpin” is a direct comment on Mr. Turpin’s Fifth Amendment right to

remain silent. The AUSA made this statement right after he told the jury

that Mr. Turpin’s counsel had subpoena power and could call defense

witnesses thereby improperly inviting the jury to speculate as to why Mr.

Turpin was called to give his version of the events to the jury.

      Third, Mr. Turpin never invited the government’s comment. In closing,

Mr. Turpin told the jury that the government has the burden, and the jury

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deserved to hear from the individual the government called “Bad Ass.” Never

did Mr. Turpin’s counsel mention that he did not have to testify.

      The government made these statements in its rebuttal, where it has

the final word. Mr. Turpin never had a chance to respond. While the jury

instruction does say that no negative inference may be drawn from the

defendant’s refusal to testify, the prosecutor’s improper argument is a highly

prejudicial bell that cannot be unrung.

      The Seventh Circuit has found that indirect commentary on the

accused’s right to remain silent violate the Fifth Amendment “only when it is

highly unlikely that anyone other than the defendant could rebut the

evidence.” United States v. Cotnam, 88 F.3d 487, 497(7th Cir. 1996). The

evidence against Mr. Turpin relied exclusively on the video recording taken

inside Moncler, and the video of Ralph running along Oak Street before and

after the shooting. Surely, Mr. Turpin is the only person who could rebut the

government’s allegations as to who he called prior to the Moncler video, or

what occurred once Mr. Dent left Milani.

      Furthermore, the phone records did not cite any call or “data package”

as the agent testified to that would demonstrate Mr. Turpin used his phone

while he and Mr. Weekly were in Milani together. Put another way, the

evidence tying Mr. Turpin to the government’s theory that he called in Mr.

Weekly’s location was scant.

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III. The District Court erred when it overruled Mr. Turpin’s objection to

Government Instruction 45.

           1. Government Instruction 45 on aiding and abetting unfairly

                prejudiced Mr. Turpin.1

           The Government’s theory of this case had been that the jury could find

any of the defendants guilty if that individual aided and abetted the

conspiracy. Indeed, the government charged 18 USC §2 against all

defendants in this case, not just Ralph Turpin.

           The federal aiding-and-abetting statute “does not create a separate

offense.” United States v. Galiffa, 734 F.2d 306, 312 (7th Cir. 1984). “It simply

makes those who aided and abetted a crime punishable as

principals.” Id. Accordingly, “an indictment need not charge [aiding or

abetting] separately. Aiding or abetting is a proper basis of conviction in

every prosecution.” United States v. Newman, 755 F.3d 543, 545 (7th Cir.

2014).

           Each defendant could have been found guilty under an aiding and

abetting theory of liability. The Government’s proposed instruction 45

specifically separates Mr. Turpin from the rest of the defendants. This is

something the government did not do for Count 1, despite arguing the same




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    Pattern instruction 5.06(a)-(b)

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basis for liability: aiding and abetting. As Mr. Turpin argued at the

instruction conference, carving out a specific instruction solely for Mr.

Turpin, when each defendant could have been found guilty under the same

theory puts an improper spotlight on Mr. Turpin.

      Moreover, Mr. Turpin is not charged separately in Count Three, with

the conspiracy to commit murder. Any of the defendants could have been

found guilty under this theory if the jury did not believe a certain defendant

discharged a firearm. For example, the government did not allege that

Roberson fired a gun. Rather, according to the government’s theory, Roberson

aided and abetted the conspiracy by driving the shooters. There is no

separate jury instruction for him on either the VICAR murder in Count One

or conspiracy in Count Three. By singling Mr. Turpin out, it not only confuses

the issues for the jury, but it also unfairly places a spotlight on Mr. Turpin. If

he is charged together with the other defendants, it is wholly improper and

prejudicial for the government to request a jury instruction that does just the

opposite.

IV.   The Government failed to prove Mr. Turpin guilty beyond a reasonable

doubt in Counts 1 and 3.

      1. The government failed to prove Mr. Turpin aided and abetted the

            substantive VICAR murder in Count 1.

            a. Jury Instructions

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      The government proceeded on an aiding and abetting theory of liability

for Mr. Turpin as to the substantive VICAR murder in Count 1. In order to

convict Mr. Turpin, the government had to prove that:

      1. O-Block street gang was an enterprise;

      2. The enterprise was engaged in racketeering activity.

      3. The activities of the enterprise affected interstate commerce;

      4. The defendant you are considering committed the murder of Carlton

         Weekly in violation of Illinois law;

      5. The defendant you are considering committed the murder of Carlton

         Weekly for the purposes of maintaining or increasing his position in

         the enterprise.

R. 56 at p. 27. Furthermore, the court gave the Accountability for Murder

instruction that stated “Under Illinois law a person is legally responsible for

the conduct of another, either before or during the commission of the offense,

and with the intent to promote or facilitate the commission of the offense he .

. . aids, abets, agreed to aid or attempts to aid the other person in the

planning or commission of the offense.” R. 56 at p. 30.

      However, the evidence introduced at trial failed to prove these

elements beyond a reasonable doubt. Specifically, the government failed to

prove that Mr. Turpin aided or abetted the murder of Mr. Weekly, or that he

did so in order to maintain or increase his position in the O-Block enterprise.

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      b.    The government did not prove Mr. Turpin aided or abetted the O-

      Block enterprise with the goal of maintaining or increasing his own

      position.

      The bulk of the government’s evidence to establish the five elements in

the VICAR instruction, and for its accountability instruction was the Oak

Street compilation, Ex.____, and Mr. Turpin’s phone call in Moncler. Ex.___.

      However, during opening statements, the government told the jury that

“While inside Milani, Turpin placed a call. He provided Duck’s location to

others.” Tr. 3031. But the evidence at trial did not bear this out. Agent Doyle

testified about Mr. Turpin’s toll records in Exhibit 800-1 and 800-2. These

records had all the inbound and outbound calls for Mr. Turpin’s phone

number and focused on August 2, 2020.

      Of particular note, there are no calls, inbound or outbound, from Mr.

Turpin’s phone during the few minutes he and Mr. Weekly were in Milani

together. The government showed the Oak Street compilation video that

showed Mr. Weekly and Mr. Turpin walking into and out of Milani. The

phone records do not corroborate the government’s allegation that Mr. Turpin

made the alleged call while he was “inside Milani.” And if that is the

government’s theory of how Mr. Turpin aided and abetted O-Block, then it

failed to meet its burden. Mr. Turpin unequivocally did not make a phone call

while he was in Milani with Weekly.

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      Second, the government proceeded on an aiding and abetting theory

based on this notion that certain gangs were “clicked up” with O-Block.

However, besides general statements by witnesses like David Sloan, there

was no substantive evidence that Mr. Turpin either gave Mr. Weekly’s

location to anyone affiliated with O-Block, or that he did so in order to

enhance his own standing in this “cliqued up” group of affiliated gangs. See

Tr.5389-90 (Sloan, direct).

      c. The Government’s evidence was insufficient to prove an agreement

         to join a conspiracy

      In order to bolster Sloan’s statement some of the gangs assisted one

another through something called an “alley-oop,” the government called

several witnesses who knew Mr. Turpin. For example, Adonnis Dent testified

that he had been a member of “Fifth Ward.” TR. 7964. That faction was part

of the GDs. Id. The Government asked Mr. Dent if Ralph Turpin was a

member of a gang, and the prosecutor asked, “when he was in Fifth Ward.”

Id. Mr. Dent testified that “You are saying ‘in Fifth Ward.” I said he was in

with us. I ain’t never say he was affiliated.” Id. The government proceeded to

show Mr. Dent his grand jury testimony, where he stated that Ralph was

part of Fifth Ward. Tr. 7970.




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      The government further showed Mr. Dent photos of individuals with

Mr. Turpin and asked if he could identify them. Id. Mr. Dent identified Crack

and D Thang as people they “all grew up together.” Id.

      On cross-examination, Mr. Dent testified that he did not know anybody

that wanted to kill Duck.” Tr. 8008. Mr. Dent and Mr. Turpin had been in

Milani with Duck. Mr. Dent stated he did not see Mr. Turpin holding a phone

while in the store, nor did he and Mr. Weekly have any interaction

whatsoever. Tr. 8009.

      Cashell Williams also testified for the government. Tr. 8033. Mr.

Williams and Ralph grew up together. He testified that Mr. Turpin was from

the Fifth Ward. When asked if he was a BD, Mr. Williams responded, “yeah.”

Tr. 8038. Mr. Williams also testified that Mr. Turpin had one conversation

about Mr. Weekly dating Mr. Turpin’s ex-girlfriend. He stated that Ralph

“just mentioned it once.” Tr. 8044. When asked if “Turpin said to you at least

once that he didn’t like Duck messing with his baby mama,” Mr. Williams

stated, “he didn’t even say that.” Tr. 8044. He further added that it was not

like Ralph was “mad or like he was happy.” Id.

      When asked about the photo of Mr. Turpin wearing the OTF necklace,

Mr. Williams stated that was just “fan stuff.” Tr. 8060. He explained that

that is like a fan of this person’s music or he a entertainer.” Id. Mr. Williams

added that “it’s just for entertainment, for social media. Tr. 8061. The

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government asked Mr. Williams about pictures of Crack with Mr. Turpin and

Crack’s affiliation.

      Dorian Hollie also testified about historical affiliations with Fifth Ward

and Ralph’s relationship. Tr. 8083. Mr. Hollie testified that most members of

Fifth Ward are older and do not participate in gang activity. Tr. 8084-85. Mr.

Hollie knew Ralph because they grew up together; he knows Ralph’s entire

family. Tr. 8089. Just like the other witnesses, the government showed Mr.

Hollie pictures of Mr. Dent and “Crack” and asked about their gang

affiliation.

      At no point in any of the government’s case in chief did it attempt to tie

in this idea of an “alley-oop” specifically with respect to Ralph and Mr.

Weekly. It merely made references to gangs and gang membership. But not a

single witness testified that Ralph had intended to aid and abet the Black

Disciples by telling a specific faction about Mr. Weekly’s location.

      In fact, the evidence showed that Mr. Turpin had zero interaction and

no conflict with Mr. Weekly. They even saw each other in Milani, and the two

men did not exchange words. The government failed to establish that Mr.

Turpin agreed to join any conspiracy for the purposes of aiding and abetting

the larger Black Disciple street gang. Mere affiliation with these gangs does

not create a strict liability for Mr. Turpin.



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      Perhaps even more glaring, during Agent Case’s testimony, she was

asked “the answer is you don’t have a single text message from Ralph Turpin

to anyone here, right?” She answered “yes.” Tr. 8342.




                                     CONCLUSION


      Therefore, based on the foregoing, Mr. Turpin respectfully requests this

honorable court grant his motion for judgment of acquittal, or in the

alternative order a new trial.



                                                  /s/Joshua B. Adams
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